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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
WHITESTONE REIT OPERATING                            )
PARTNERSHIP III LP,                                  )
                                                     )
                       Defendant.                    )

                                            COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP,

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.


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       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

       7.      Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP

(hereinafter “WHITESTONE REIT OPERATING PARTNERSHIP III LP”), is a Texas limited

partnership that transacts business in the State of Texas and within this judicial district.

       8.      Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP, may be

properly served with process for service via its Registered Agent, to wit: c/o C T Corporation,

Registered Agent, 1999 Bryan Street, Suite 900, Dallas, TX 75201.

                                   FACTUAL ALLEGATIONS

       9.      On or about January 4, 2022, Plaintiff was a customer at “Vietnamese Noodle

House” a business located at 16 Uvalde Road, Houston, TX 77015, referenced herein as

“Vietnamese Noodle House”. Also attached is a photograph documenting Plaintiff’s visit to the

Property and Plaintiff is holding his receipt of purchase. See Exhibit 1.

       10.     Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP, is the

owner or co-owner of the real property and improvements that Vietnamese Noodle House is

situated upon and that is the subject of this action, referenced herein as the “Property.”



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       11.     Plaintiff lives 20 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 16 Uvalde Road, Houston, TX

77015, Harris County Property Appraiser’s identification number 1156190000001 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP, is compelled to remove

the physical barriers to access and correct the ADA violations that exist at the Property,

including those set forth in this Complaint.

       13.     The Property has two buildings on it, both buildings are public accommodations.

       14.     Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP, as

property owner, is responsible for complying with the ADA for both the exterior portions and

interior portions of the Property. Even if there is a lease between Defendant, WHITESTONE

REIT OPERATING PARTNERSHIP III LP, and the tenant allocating responsibilities for ADA

compliance within the unit the tenant operates, that lease is only between the property owner and

the tenant and does not abrogate the Defendant’s independent requirement to comply with the

ADA for the entire Property it owns, including the interior portions of the Property which are

public accommodations. See 28 CFR § 36.201(b).

       15.     Plaintiff has visited the Property as a customer and advocate for the disabled.

Plaintiff intends on revisiting the Property within six months after the barriers to access detailed

in this Complaint are removed and the Property is accessible again. The purpose of the revisit is

to be a return customer, to determine if and when the Property is made accessible and to maintain

standing for this lawsuit for Advocacy Purposes.



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          16.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          17.   Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, personally encountered many barriers to access the Property that are detailed in

this Complaint, engaged many barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury if all the illegal barriers to access present at the Property identified in

this Complaint are not removed.

          18.   Although Plaintiff did not personally encounter each and every barrier to access

identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior to filing

the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

          19.   Plaintiff’s inability to fully access the Property and the stores within in a safe

manner and in a manner which inhibits the free and equal enjoyment of the goods and services

offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as



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recognized by Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;



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       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.     The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property

twice before in his capacity as a customer at the Property as well as an independent advocate for

the disabled, but could not fully do so because of his disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at the Property



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that preclude and/or limit his access to the Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       31.     Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP, has

discriminated against Plaintiff (and others with disabilities) by denying his access to, and full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

of the Property, as prohibited by, and by failing to remove architectural barriers as required by,

42 U.S.C. § 12182(b)(2)(A)(iv).

       32.     Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP, will

continue to discriminate against Plaintiff and others with disabilities unless and until Defendant,

WHITESTONE REIT OPERATING PARTNERSHIP III LP, is compelled to remove all

physical barriers that exist at the Property, including those specifically set forth herein, and make

the Property accessible to and usable by Plaintiff and other persons with disabilities.

       33.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing



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of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     At Unit 14B, there is a doorway threshold with a vertical rise in excess of ½ (one

               half) inch and does not contain a bevel with a maximum slope of 1:2 in violation

               of Section 404.2.5 of the 2010 ADAAG standards. This barrier to access would

               make it dangerous and difficult for Plaintiff to access the interior of the Property

               at this location as the vertical rise at the door threshold could potentially cause

               Plaintiff to tip over when attempting to enter. Moreover, this barrier to access is

               made more difficult by the fact that it is in the doorway and Plaintiff would be

               required to hold the door open with one hand while attempt to the “push” the

               wheel of the wheelchair over the vertical rise.

       (ii)    At Unit 16H, there is a doorway threshold with a vertical rise in excess of ½ (one

               half) inch and does not contain a bevel with a maximum slope of 1:2 in violation

               of Section 404.2.5 of the 2010 ADAAG standards. This barrier to access would

               make it dangerous and difficult for Plaintiff to access the interior of the Property

               at this location as the vertical rise at the door threshold could potentially cause

               Plaintiff to tip over when attempting to enter. Moreover, this barrier to access is

               made more difficult by the fact that it is in the doorway and Plaintiff would be

               required to hold the door open with one hand while attempt to the “push” the

               wheel of the wheelchair over the vertical rise.




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 (iii)   At Unit 16F, there is a doorway threshold with a vertical rise in excess of ½ (one

         half) inch and does not contain a bevel with a maximum slope of 1:2 in violation

         of Section 404.2.5 of the 2010 ADAAG standards.. This barrier to access would

         make it dangerous and difficult for Plaintiff to access the interior of the Property

         at this location as the vertical rise at the door threshold could potentially cause

         Plaintiff to tip over when attempting to enter. Moreover, this barrier to access is

         made more difficult by the fact that it is in the doorway and Plaintiff would be

         required to hold the door open with one hand while attempt to the “push” the

         wheel of the wheelchair over the vertical rise.

 (iv)    At Unit 16E, there is a doorway threshold with a vertical rise in excess of ½ (one

         half) inch and does not contain a bevel with a maximum slope of 1:2 in violation

         of Section 404.2.5 of the 2010 ADAAG standards. This barrier to access would

         make it dangerous and difficult for Plaintiff to access the interior of the Property

         at this location as the vertical rise at the door threshold could potentially cause

         Plaintiff to tip over when attempting to enter. Moreover, this barrier to access is

         made more difficult by the fact that it is in the doorway and Plaintiff would be

         required to hold the door open with one hand while attempt to the “push” the

         wheel of the wheelchair over the vertical rise.

 (v)     At Unit 16C, there is a doorway threshold with a vertical rise in excess of ½ (one

         half) inch and does not contain a bevel with a maximum slope of 1:2 in violation

         of Section 404.2.5 of the 2010 ADAAG standards. This barrier to access would

         make it dangerous and difficult for Plaintiff to access the interior of the Property

         at this location as the vertical rise at the door threshold could potentially cause



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          Plaintiff to tip over when attempting to enter. Moreover, this barrier to access is

          made more difficult by the fact that it is in the doorway and Plaintiff would be

          required to hold the door open with one hand while attempt to the “push” the

          wheel of the wheelchair over the vertical rise.

 (vi)     In front of Unit 16A, the access aisle to the accessible parking space is not level

          due to the presence of an accessible ramp in the access aisle in violation of

          Section 502.4 of the 2010 ADAAG standards. This barrier to access would make

          it dangerous and difficult for Plaintiff to exit and enter their vehicle while parked

          at the Property as the lift from the van may rest upon the ramp and create an

          unlevel surface.

 (vii)    In front of Unit 16A, the accessible curb ramp is improperly protruding into the

          access aisle of the accessible parking space in violation of Section 406.5 of the

          2010 ADAAG Standards. This barrier to access would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property as

          the lift from the van may rest upon the ramp and create an unlevel surface.

 (viii)   In front of Unit 18A, the accessible parking space is not located on the shortest

          distance to the accessible route leading to the accessible entrances in violation of

          Section 208.3.1 of the 2010 ADAAG Standards. This barrier to access would

          make it difficult and dangerous for Plaintiff to access the units of the Property

          from these accessible parking spaces as the far location increases the likelihood of

          traversing into the vehicular way and getting struck by a vehicle or encountering a

          barrier to access which stops Plaintiff from accessing the public accommodations

          offered at the Property.



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 (ix)   At Unit 18A, the maneuvering clearance of this accessible entrance is not level

        due to the two inch vertical rise at the accessible entrance in violation of Section

        404.2.4.4 of the 2010 ADAAG standards. This barrier to access would make it

        difficult for Plaintiff to access this unit of the Property since it is often necessary

        for individuals in wheelchairs to need to use their hands to both wheel through the

        doorway and keep the door open with another hand. When the maneuvering

        clearance is not level, this ordinarily difficult process is made even more difficult

        by the inappropriately higher slope.

 (x)    There is a policy of placing parking stops in the access aisle at the Property.

        Specifically, there is a parking stop located in the access aisle of the accessible

        parking space nearest Unit 18A which improperly encourages parking in the

        access aisle in violation of Section 502.3.3 of the 2010 ADAAG standards. This

        barrier to access would make it difficult for Plaintiff to leave a vehicle when

        parked in this accessible parking space as it is probable a vehicle may be parked

        in the access aisle due to the encouragement of parking there.

 (xi)   At Unit 18C, the maneuvering clearance of this accessible entrance is not level

        due to the 2 inch vertical rise at the accessible entrance in violation of Section

        404.2.4.4 of the 2010 ADAAG standards. This barrier to access would make it

        difficult for Plaintiff to access this unit of the Property since it is often necessary

        for individuals in wheelchairs to need to use their hands to both wheel through the

        doorway and keep the door open with another hand. When the maneuvering

        clearance is not level, this ordinarily difficult process is made even more difficult

        by the inappropriately higher slope.



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 (xii)    As a result of the barriers to access identified in paragraph 32 (i), (ii), (iii), (iv),

          (v), (ix) and (xi), not all entrance doors and doorways comply with Section 404 of

          the 2010 ADAAG standards, this is a violation of Section 206.4 of the 2010

          ADAAG standards. This barrier to access would make it difficult and dangerous

          for Plaintiff to access the interior of the Property.

 (xiii)   The Property lacks an accessible route connecting the two buildings on the

          property together in violation of section 206.2.2 of the 2010 ADAAG Standards.

          This barrier to access would prevent Plaintiff from parking at one building and

          travelling to another building.

 (xiv)    There are no accessible parking spaces on the Property that have a sign

     designating an accessible parking space as “Van Accessible” in violation of section

     208.2.4 of the 2010 ADAAG standards and section 502.6 of the 2010 ADAAG

     standards. This barrier to access would make it difficult for Plaintiff to locate a van

     accessible parking space.

 (xv)     There is an insufficient number of accessible parking spaces on the Property in

     violation of section 208.2 of the 2010 ADAAG Standards. There are a total of 127

     parking spaces on the Property, which requires a minimum of five accessible parking

     spaces, but there are only two accessible parking spaces. This would make it difficult

     for Plaintiff to locate an open accessible parking space in future visits.

 (xvi)    Defendant fails to adhere to a policy, practice and procedure to ensure that all

          facilities are readily accessible to and usable by disabled individuals.

 VIETNAMESE NOODLE HOUSE RESTROOMS

  (xvii) The restrooms have grab bars adjacent to the commode which are not in



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        compliance with Section 604.5 of the 2010 ADAAG standards as the rear

        bar not 36 inches in length. This would make it difficult for Plaintiff

        and/or any disabled individual to safely transfer from the wheelchair to the

        toilet and back to the wheelchair.

  (xviii) The height of the bottom edge of the reflective surface of the mirror in the

        bathroom is above the 40 inch maximum height permitted by Section

        603.3 of the 2010 ADAAG standards. This barrier to access would make it

        difficult for the Plaintiff and/or any disabled individual to properly utilize

        the mirror in the restroom since Plaintiff is sitting in a wheelchair and is

        lower than a person standing up.

    (xix)       The actionable mechanism of the paper towel dispenser in the

       restroom is located outside the maximum prescribed vertical reach range of

       48 inches above the finished floor as set forth in section 308.2.1 of the

       2010 ADAAG standards. This barrier to access would make it difficult for

       Plaintiff and/or any disabled individual to reach the actionable mechanism

       of the paper towel dispenser as individuals in wheelchairs are seated and

       have significantly less reach range than individuals who stand up.

    (xx) The door hardware providing access to the restrooms requires tight

       grasping and twisting of the wrist in violation of Section 404.2.7 of the

       2010 ADAAG standards. This would make it difficult for Plaintiff and/or

       any disabled individual to utilize the restroom facilities.

    (xxi)       Due to policy of storing items such as mops and other cleaning

       supplies in front of the door, the door of the restroom lacks a clear



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        minimum maneuvering clearance, in violation of section 404.2.4 of the

        2010 ADAAG standards. This made it difficult for Plaintiff and/or any

        disabled individual to safely utilize the restroom facilities.

    (xxii)      Due to policy of storing items such as mops and other cleaning

        supplies in front of the door, the door to the restrooms has a maximum

        clear width below 32 (thirty-two) inches in violation of section 404.2.3 of

        the 2010 ADAAG standards. This barrier to access would make it difficult

        for Plaintiff and/or any disabled individual to safely utilize the restroom

        facilities as wheelchair typically has a clear width of between 30 and 32

        inches and the wheelchair will not be able to fit through the doorway to

        access the restroom. In the case that the wheelchair may barely fit through,

        the tight doorway would likely injure Plaintiff’s hands as they could get

        caught between the wheel and the doorway.

    (xxiii)     The toilet paper dispenser in the accessible toilet is not positioned

        in seven to nine inches in front of the toilet and therefore is in violation of

        section 604.7 of the 2010 ADAAG standards. This barrier to access would

        make it difficult for Plaintiff to utilize the toilet due to the fact the toilet

        paper dispenser is at an improper distance from the toilet, given Plaintiff’s

        disability, Plaintiff would not be able to get up and reach the toilet paper.

    (xxiv)      The restroom lacks signage in compliance with sections 216.8 and

        703 of the 2010 ADAAG standards. This made it difficult for Plaintiff

        and/or any disabled individual to locate accessible restroom facilities.

    (xxv)       The lavatories and/or sinks in the restrooms have exposed pipes



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              and surfaces and are not insulated or configured to protect against contact

              in violation of section 606.5 of the 2010 ADAAG standards. This barrier to

              access would make it difficult for Plaintiff and/or any disabled individual to

              safely utilize the sink as the pipes underneath the sink typically have sharp

              surfaces and/or hot pipes, and since individuals in wheelchairs use a sink

              while seated, their legs are particularly vulnerable to these threats.

       34.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       35.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       36.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.     All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       38.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       39.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant,

WHITESTONE REIT OPERATING PARTNERSHIP III LP, has the financial resources to make

the necessary modifications. According to the Property Appraiser, the Appraised value of the

Property is 3,665,578.00.



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       40.        The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       41.        Upon information and good faith belief, the Property has been altered since 2010.

       42.        In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       43.        Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

WHITESTONE REIT OPERATING PARTNERSHIP III LP, is required to remove the physical

barriers, dangerous conditions and ADA violations that exist at the Property, including those

alleged herein.

       44.        Plaintiff’s requested relief serves the public interest.

       45.        The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP.

       46.        Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, WHITESTONE REIT OPERATING PARTNERSHIP III LP,

pursuant to 42 U.S.C. §§ 12188 and 12205.

       47.        Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant,

WHITESTONE REIT OPERATING PARTNERSHIP III LP, to modify the Property to the

extent required by the ADA.



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 WHEREFORE, Plaintiff prays as follows:

 (a)   That   the   Court   find   Defendant,    WHITESTONE         REIT     OPERATING

       PARTNERSHIP III LP, in violation of the ADA and ADAAG;

 (b)   That the Court issue a permanent injunction enjoining Defendant, WHITESTONE

       REIT OPERATING PARTNERSHIP III LP, from continuing their discriminatory

       practices;

 (c)   That the Court issue an Order requiring Defendant, WHITESTONE REIT

       OPERATING PARTNERSHIP III LP, to (i) remove the physical barriers to

       access and (ii) alter the Property to make it readily accessible to and useable by

       individuals with disabilities to the extent required by the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: March 22, 2022

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
                                     Douglas S. Schapiro, Esq.
                                     Southern District of Texas ID No. 3182479
                                     The Schapiro Law Group, P.L
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